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May 14, 2018                                                  kvozzo@littler.com


VIA ECF

Hon. James Orenstein
United States District Court
Eastern District of New York
United States Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

Re:      M arasco v. Am erican Ex pediting Com pany, Inc. et al.
         Case No. 16 Civ. 00232(PKC)(JO)

Dear Judge Orenstein:

This firm represents Defendants Victor Finnegan (“Defendant Finnegan”) and A to Z Logistics,
Inc. (collectively, “Defendants”) in the above referenced matter. Pursuant to Your Honor's
Order dated March 27, 2018, enclosed please find the parties' joint proposed Joint Rule 26(f)
Report.

We thank the Court for its time and consideration.

Respectfully submitted,

/s/ Kevin R. Vozzo

Kevin R. Vozzo

cc:      Counsel of record (via ECF)




  littler.com
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

RICHARD MARASCO, individually on behalf of
himself and all others similarly situated,
                                                                       Case No. 16-cv-00232 (PKC) (JO)
                             Plaintiff,
                                                                       JOINT RULE 26(f) REPORT
                    -against-

A TO Z LOGISTICS, INC., VICTOR FINNEGAN,
and JOHN DOES 1-25,

                             Defendants.


                                INITIAL CONFERENCE QUESTIONNAIRE

1.         Deadline for all Rule 26(a)(1) disclosures (if later                     July 27, 2018 1
           than the date of the initial conference, please explain
           why on a separate page):

2.         Deadline for first request for production of documents                   July 31, 2018 2
           and first request for interrogatories:

           2(a).    Additional interrogatories needed, if any, beyond               plaintiff(s) 0; defendant(s) 0
                    the 25 permitted under the federal rules for:

3.         Date for completion of any joinder of additional                         June 15, 2018
           parties and amendment of the pleadings:

           3(a).    Number of proposed additional parties to be joined, plaintiff(s) 0; defendant(s) 0
                    if any, by:

4.         Number of depositions by plaintiff(s) of:                                TBD

5.         Number of depositions by defendant(s) of:                                TBD

6.         Date of status conference (joint status report due                       February 18, 2019
           two business days in advance):


1   Defendants’ initial disclosures were served on November 7, 2017.
2
  The parties have already engaged in substantive settlement discussions, and have informally exchanged relevant
documents and data. In addition, Defendants have already produced documents and information in response to
Plaintiff’s initial requests for production and interrogatories. Subject to the Court’s approval, and as further described
on the attached separate page, the parties have agreed to stay further formal discovery until they have fully explored
potential resolution of the case.
7.    Date for completion of factual discovery:                    Class / Collective Certification
                                                                   Discovery: February 15, 2019;
                                                                   Merits Discovery: 120 days
                                                                   after ruling on motion for
                                                                   class / collective certification.

8.    Are expert witnesses needed?                                 Yes X (trial only) No

      8(a).   Number of expert witness, if any, of plaintiff(s):   medical 0; non-medical 2

      8(b).   Date for completion of those expert reports:         30 days after close of post-
                                                                   certification discovery.

      8(c).   Number of expert witnesses, if any, of defendant(s): medical 0; non-medical 1

      8(d).   Date for completion of those expert reports:         30 days after close of post-
                                                                   certification discovery.

      8(e).   Date for completion of rebuttal expert reports:      45 days after deadline
                                                                   for completion of expert
                                                                   reports.

9.    Date for completion of expert discovery:                     30 days after exchange of
                                                                   rebuttal expert reports.

10.   Date of pretrial conference (brief ex parte statements       TBD
      of settlement position due via email two business days
      in advance):


11.   Types of contemplated dispositive motions by
      plaintiff(s) and dates for filing of those motions:          Motion for class / collective
                                                                   certification: March 15, 2019.


12.   Types of contemplated dispositive motions by
      defendant(s) and dates for filing of those motions:          Motion for summary
                                                                   judgment: 60 days before trial.

13.   Have counsel reached any agreements regarding                Yes No X
      electronic discovery? (If so, please describe at
      the initial conference.)

14.   Have counsel reached any agreements for disclosure           Yes No X
      of experts’ work papers (including drafts) and
      communications with experts? (If so, please describe
      on a separate page.)



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15.   Will the parties unanimously consent to trial before a   Yes No X
      magistrate judge pursuant to 28 U.S.C. § 636(c)? (If
      any party declines to consent, answer no but do not
      indicate which party declined.)




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                  ADDITIONAL INFORMATION REGARDING THE PARTIES’
                           JOINT RULE 26(F) REPORT
        Plaintiff Richard Marasco (“Plaintiff”) and Defendants A to Z Logistics, Inc. (“A to Z”) and

Victor Finnegan (“Finnegan”) (collectively, “Defendants”) submit this additional information to

supplement the parties’ joint report and discovery plan pursuant to Fed. R. Civ. P. 26(f).

        The parties have already engaged in substantive settlement discussions in furtherance of

resolution of this matter, and have informally exchanged documents and data relevant to their

settlement discussions. In addition, Defendants have already served their initial disclosures, and

produced documents and information in response to Plaintiff’s initial requests for production and

interrogatories. Subject to the Court’s approval, the parties have agreed to stay further formal

discovery until they have fully explored potential resolution of the case. Specifically, if a tentative

settlement is not reached, the parties will resume formal discovery in July 2018. The subjects on

which discovery may be needed include, but are not limited to, Plaintiff’s earnings and hours

worked, and Defendants’ compensation practices.

        The parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored

Information. The parties are aware of their obligations to preserve electronically stored information,

and have taken steps to do so. The parties have not identified any other issues about the disclosure,

or the discovery of, electronically stored information (“ESI”).

        The parties have not identified any need to impose limitations on discovery other than: (i)

limiting discovery to what is appropriate under the Federal Rules of Civil Procedure; and (ii) subject

to the Court’s approval, staying further formal discovery until after the parties have fully explored

potential resolution of the case.

        If the parties are unable to amicably resolve their dispute, and discovery is ultimately

necessary, the parties agree that a protective order may be needed to protect confidential

information. Should such an agreement be necessary, the parties will prepare the agreement and


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submit it to the Court for approval. The parties have not currently identified any other order that

the Court should issue under Rule 26(c) or Rule 16(b)-(c).



 Dated: May 14, 2018                          /s/ Jeremy Francis
                                              Jeremy Francis
                                              The Sultzer Law Group
                                              14 Wall Street, 20th Floor
                                              New York, New York 10005
                                              (732) 741-4290
                                              Attorneys for Plaintiff


 Dated: May 14, 2018                          /s/ Andrew M. Spurchise
                                              Andrew M. Spurchise
                                              Kevin R. Vozzo
                                              Leslie M. DiBenedetto
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                                                 A to Z Logistics, Inc. and Victor Finnegan




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